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      Exhibit D
Kakish, Lara

From:                              Golan, Jeffrey <JGOLAN@barrack.com>
Sent:                              Wednesday, May 10, 2023 2:47 PM
To:                                Adams, John; Amass, Tyler H.; Cox, Trey; Lutz, Brian M.; Davis, Colin B.; McNally, Laura
                                   Hughes; Kakish, Lara
Cc:                                John Browne; Timothy Fleming; Hoffman, Robert; Carder, Chad; Danielle M. Weiss; Heo,
                                   Andrew J; Michael Mathai; Adam Wierzbowski; Brendan Walden
Subject:                           RE: 1/18 M&C RE: Energy Transfer Securities Litigation



[WARNING: External Email]
Dear John:

We are dismayed to learn that Defendants, apparently concerned with the possibility of an adverse ruling in Lead
Plaintiffs’ fully-briefed motion to compel, have belatedly resorted to attacking the scope of Lead Plaintiffs’ responsive
document search. Your request seems motivated not by a desire to obtain relevant text messages from Lead Plaintiffs’
custodians, or even by a belief that such text messages exist, but in the hopes of obtaining favorable positioning with
regard to Lead Plaintiffs’ motion, which is motivated by our well-founded belief – one that Defendants no longer contest
– that Defendants’ custodians communicated via text message about matters at issue in this litigation.

Lead Plaintiffs produced documents responsive to Defendants’ document requests, subject to our written responses and
objections, from October 2021 to February 2022. At no point during that process did Defendants request that Lead
Plaintiffs search for text messages or inquire into Lead Plaintiffs’ data sources, even after we provided a detailed account
of the data sources we were attempting to access for two custodians in the November 5, 2021 letter referenced in your
email below. Defendants did not ask about text message communications at any depositions taken of Lead Plaintiffs,
which took place in December 2021 and January 2022, during which representatives of the Lead Plaintiffs explained that
they delegated investment decision-making authority to investment managers. And when the time came for
Defendants to respond to Lead Plaintiffs’ motion for class certification, Defendants made no arguments whatsoever
against the Lead Plaintiffs’ adequacy in Defendants’ opposition brief or during the two hour hearing on July 8, 2022 on
the class motion.

Even since the class motion argument and the Court’s August 23, 2022 decision certifying a class, Defendants have not
raised the issue of Lead Plaintiffs’ text messages. This includes as we approached the prior fact discovery deadline of
December 16, 2022; during the meet and confers held on January 18 and March 27, 2023; in any of the negotiations
aimed at resolving Plaintiffs’ motion to compel; or in Defendants’ response to Plaintiffs’ motion to compel. Instead, you
waited to raise the issue until after we filed Lead Plaintiffs’ reply in further support of the motion to compel. Defendants
have further never pointed to a document suggesting that Lead Plaintiffs texted about any issues relevant to this case.
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Given these circumstances, we decline the requests in your below email of May 9, 2023 that we “confirm by May 8
whether Plaintiffs have collected and reviewed text messages from each of Plaintiffs’ identified email custodians” and
supply other information regarding any such text messages.

Jeff

Jeffrey W. Golan
Barrack, Rodos & Bacine
3300 Two Commerce Square
2001 Market Street
Philadelphia, PA 19103

                                                             1
From: Adams, John <JSAdams@gibsondunn.com>
Sent: Tuesday, May 9, 2023 1:25 PM
To: Michael Mathai <Michael.Mathai@blbglaw.com>; Adam Wierzbowski <Adam@blbglaw.com>; Brendan Walden
<Brendan.Walden@blbglaw.com>; Amass, Tyler H. <TAmass@gibsondunn.com>; Cox, Trey <TCox@gibsondunn.com>;
Lutz, Brian M. <BLutz@gibsondunn.com>; Davis, Colin B. <CDavis@gibsondunn.com>; McNally, Laura Hughes
<laura.mcnally@morganlewis.com>; Kakish, Lara <LKakish@gibsondunn.com>
Cc: John Browne <JohnB@blbglaw.com>; Timothy Fleming <Timothy.Fleming@blbglaw.com>; Golan, Jeffrey
<JGOLAN@barrack.com>; Hoffman, Robert <RHOFFMAN@barrack.com>; Carder, Chad <ccarder@barrack.com>;
Danielle M. Weiss <dweiss@barrack.com>; Heo, Andrew J <aheo@barrack.com>
Subject: RE: 1/18 M&C RE: Energy Transfer Securities Litigation

Counsel:

Please confirm by May 8 whether Plaintiffs have collected and reviewed text messages from each of Plaintiffs’ identified email
custodians (see, e.g., Nov. 5, 2021 LTR from R. Hoffman; September 23, 2021 email from Plaintiffs’ Lead Counsel). If not, please
identify which individuals’ text messages were collected, if any collection attempts were unsuccessful, and the search methodology
used.

Best,




John Adams

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JSAdams@gibsondunn.com • www.gibsondunn.com



From: Michael Mathai <Michael.Mathai@blbglaw.com>
Sent: Thursday, May 4, 2023 8:12 AM
To: Adams, John <JSAdams@gibsondunn.com>; Adam Wierzbowski <Adam@blbglaw.com>; Brendan Walden
<Brendan.Walden@blbglaw.com>; Amass, Tyler H. <TAmass@gibsondunn.com>; Cox, Trey <TCox@gibsondunn.com>;
Lutz, Brian M. <BLutz@gibsondunn.com>; Davis, Colin B. <CDavis@gibsondunn.com>; McNally, Laura Hughes
<laura.mcnally@morganlewis.com>
Cc: John Browne <JohnB@blbglaw.com>; Timothy Fleming <Timothy.Fleming@blbglaw.com>; Jeffrey Golan
<JGOLAN@barrack.com>; Robert Hoffman (External) <rhoffman@barrack.com>; Chad Carder <ccarder@barrack.com>;
Danielle M. Weiss
           Case    <dweiss@barrack.com>;
                2:20-cv-00200-GAM DocumentAho AhoFiled
                                           159-6   <aheo@barrack.com>
                                                         06/16/23 Page 3 of 3
Subject: Re: 1/18 M&C RE: Energy Transfer Securities Litigation

[WARNING: External Email]
John,

We disagree with your assertions about our proposed text message search terms. You claim that there are “technical
limitations associated with text message search and review that make the use of connectors and phrases more difficult,”
but if the text messages in question are forensically collected and uploaded to a review platform, our understanding is
that you should be able to apply typical text-searching processes, particularly since we’ve used both proximity
connectors and phrases in searching text messages in other cases. The use of phrases should also not present any
particular challenges. For example, you proposed “Mariner East” as a search term, so it is obviously possible to use such

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